          Case 5:22-cv-00902-D Document 12 Filed 01/20/23 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

JAMES ROBERT BLANCHARD,                  )
                                         )
      Petitioner,                        )
                                         )
v.                                       )       Case No. CIV-22-902-D
                                         )
STATE OF OKLAHOMA,                       )
                                         )
      Respondent.                        )

                                        ORDER

      Upon review of the file and noting no timely objection to the findings and

recommendations of United States Magistrate Judge Shon T. Erwin pursuant to 28 U.S.C.

§ 636(b)(1), the Court adopts the Report and Recommendation [Doc. No. 11] in its entirety.

For the reasons stated therein, the Court finds the Amended Petition for Writ of Habeas

Corpus [Doc. No. 10] should be and is hereby DISMISSED WITHOUT PREJUDICE.

      IT IS SO ORDERED this 20th day of January, 2023.




                                             TIMOTHY . DeGIUSTI
                                             Chief United States District Judge
